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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION

STEPHEN GOULD CORPORATION,                   )
                                             )
            Plaintiff,                       )
                                             )
      vs.                                    )          Case No. 4:22-cv-00771-MTS
                                             )
BUCKEYE INTERNATIONAL, INC.,                 )
                                             )
            Defendant.                       )

                           MEMORANDUM AND ORDER

       On Wednesday, January 08, 2025, Plaintiff Stephen Gould Corporation’s deadline

to file its answer to Defendant Buckeye International, Inc.’s counterclaim came and went

without Plaintiff filing a thing. See Fed. R. Civ. P. 12(a)(1)(B). Some weeks later,

Defendant filed a Motion for Partial Judgment on the Pleadings, seeking judgment in its

favor on one of Plaintiff’s two claims. Plaintiff missed the deadline to oppose that Motion,

too. See E.D. Mo. L.R. 4.01(B) (providing that “each party opposing a motion” must do

so “within fourteen (14) days”). The Court later granted Defendant’s unopposed Motion

for Partial Judgment on the Pleadings. And in that same Order, the Court provided Plaintiff

seven days to file its answer to Defendant’s counterclaim—an answer that, by then, was

over ten weeks late. Pursuant to the Court’s Order, Plaintiff needed to file the answer by

Thursday, March 27. Plaintiff failed to do so.

       There is no doubt that Plaintiff saw the Court’s Order ordering it to file its answer

by March 27 because, on March 25, Plaintiff filed a Motion for Reconsideration, which

asked that the Court to vacate its grant of partial judgment on the pleadings to Defendant.
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Doc. [101]. Though Plaintiff unquestionably saw and read the Court’s Order, Plaintiff

declined to file the answer—an answer that already was ten weeks late—as ordered.

Instead, in the afternoon on Friday, March 28, Plaintiff filed a Motion for Extension of

Time, Doc. [103], and then, without waiting for leave to be granted, separately filed its

answer, Doc. [104].

       One might expect that Plaintiff’s Motion for Extension of Time would be quite

detailed and convey some compelling reasons why the Court should extend the time for its

answer. After all, the Federal Rules of Civil Procedure mandated that Plaintiff file its

answer more than eleven weeks prior to the Motion for Extension of Time. And the Rules

also require that, when a party files a motion for extension of time after the time to act has

expired, the party must demonstrate good cause for an extension and show “excusable

neglect” for failing to act. Fed. R. Civ. P. 6(b)(1). Plaintiff’s Motion failed to do so. It

did not even allude to the concepts of “good cause” or “excusable neglect.”

       Nevertheless—perhaps as a professional courtesy or in recognition of the judicial

preference for adjudication on the merits, see Belcourt Public School District v. Davis, 786

F.3d 653, 661 (8th Cir. 2015)—Defendant did not oppose Plaintiff’s Motion for Extension

of Time. Our system is an adversarial one. See Burdett v. Miller, 957 F.2d 1375, 1380

(7th Cir. 1992) (explaining “[o]urs is an adversarial system” where a district judge “looks

to the parties” and does not “play the ‘proactive’ role of a Continental European judge”).

Because Defendant did not oppose Plaintiff’s Motion, the Court will grant it despite the

Motion’s obvious flaws. See Niemi v. Lasshofer, 728 F.3d 1252, 1259 (10th Cir. 2013)
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(Gorsuch, J., for the Court) (noting that under our adversarial system, courts “don’t usually

go looking for trouble” but “rely instead on the parties”).

       Accordingly,

       IT IS HEREBY ORDERED that Plaintiff Stephen Gould Corporation’s Motion

for Extension of Time, Doc. [103], is GRANTED.

       Dated this 14th day of April 2025.



                                            MATTHEW T. SCHELP
                                            UNITED STATES DISTRICT JUDGE
